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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable William B. Shubb
United States District Judge
Sacramento, California

                                           RE:    Enrique SANDOVAL
                                                  Docket Number: 2:01CR00367-04
                                                  PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


The release is requesting permission to travel to Mexico. He is current with all supervision
obligations, and the probation officer where he is supervised in the Central District of
California recommends approval be granted.


Conviction and Sentencing Date: On April 3, 2002, Enrique Sandoval was sentenced
for the offense of 21 USC 841(a)(1) - Distribution fo Methamphetamine (at least 50 grams).


Sentence imposed: 60 months custody of the Bureau of Prisons; 48 months Supervised
Release; $100 Special Assessment.


Dates and Mode of Travel: December 15, 2006 to December 29, 2006, via personal
vehicle.


Purpose: The releasee is seeking approval to travel for the holidays to visit his family.
The United States Probation Officer in the Central District of California reports the releasee
is in compliance, and it is recommended travel be approved.




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RE:   Enrique SANDOVAL
      Docket Number: 2:01CR00367-04
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                             Respectfully Submitted,


                              /s/ George A. Vidales
                             GEORGE A. VIDALES
                        United States Probation Officer

DATED:     December 11, 2006
           Elk Grove, California
           GAV/cj


REVIEWED BY:       /s/ Deborah A. Spencer
                 DEBORAH A. SPENCER
                 Supervising United States Probation Officer



ORDER OF THE COURT:

Approved X

Date: December 13, 2006




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                                       2           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
